              Case 1:07-cv-00316-OWW-GSA Document 146 Filed 02/20/09 Page 1 of 3

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         8                                UNITED STATES DISTRICT COURT
         9                 EASTERN DISTRICT OF CALIFORNIA – FRESNO DIVISION
        10
        11   KIMBERLY BARSAMIAN,                                   Case No. 1:07-cv-00316 OWW/GSA
        12                          Plaintiff,                     ORDER ALLOWING DEFENDANT,
                                                                   MARTIN SOLIS’, FILING OF TRIAL
        13          vs.                                            BRIEF UNDER SEAL
        14   CITY OF KINGSBURG, MARTIN SOLIS,
             individually and in his official capacity as a        Trial: March 3, 2009
        15   Police Officer for the City of Kingsburg Police
             Department and DOES 1 through 100,
        16   inclusive,
        17                          Defendants.
        18
        19
                    On July 23, 2007, the Court entered a protective order related to certain
        20
        21   documents based on a stipulation between the parties.             (Document 16)       In the

        22   Stipulation, Defendant City of Kingsburg indicated its belief that documents requested by
        23   Plaintiff Kimberly Barsamian including the personnel file of Martin Solis, contain
        24
             information that is:
        25
                    1.     Confidential, sensitive, or potentially invasive of an individual’s privacy
        26                 interest as protected by Article I, § 1 to the California Constitution;
                    2.     Protected from disclosure pursuant to the provisions of California Penal
        27                 Code §§ 832.5 AND 832.7, as well as Evidence Code § 1045;
        28


                  ORDER ALLOWING DEFENDANT, MARTIN SOLIS’, FILING OF TRIAL BRIEF UNDER SEAL

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              Case 1:07-cv-00316-OWW-GSA Document 146 Filed 02/20/09 Page 2 of 3

         1          3.     Substantially and sufficiently dissimilar in nature so as to be irrelevant and
                           not subject to production;
         2          4.     Not generally known or available to the general public; and/or
                    5.     Not normally revealed to the public or third parties or, if disclosed to third
         3
                           parties would require such third parties to maintain the information in
         4                 confidence.

         5          Pursuant to said stipulation and order, on February 17, 2009, Defendant, Martin
         6   Solis, needs Court approval to file the following document under seal:
         7
                    1.     Defendant, Martin Solis’, Trial Brief.
         8
                    Defendant Martin Solis has requested the Court file, under seal, the above-entitled
         9
             document due to the sensitivity and nature of said document not only with regard to
        10
        11   privileged information concerning Officer Solis, but also as to Plaintiff.

        12                                             Analysis

        13          Defendant Martin Solis has asserted a constitutional right of privacy based on the
        14
             California Constitution and protections from disclosure based on the California Penal
        15
             Code and Evidence Code sections, as well as general objections that the documents are
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             not generally known, available or revealed to the public, including those that are
        17
        18   regarding Plaintiff’s sexual history.   In federal question cases, privileges asserted in

        19   Federal Rules of Evidence, Rule 501; United States v. Zolin, 491 U.S. 554, 562 (1989);

        20   Kerr v. United States District Court for the Northern District of California, 511 F.2d 192,
        21
             197 (9th Cir. 1975). Federal common law recognizes a qualified privilege for official
        22
             information, also known as the governmental privilege, or state secret privilege. Kerr,
        23
             511 F.2d at 198. The application of the official information privilege is “contingent upon
        24
        25   the competing interests of the requesting litigant and subject to disclosure especially

        26   where protective measures are taken.” Id. Ana, 936 F.2d 1027, 1033 (9th Cir. 1990)

        27   (finding city police personnel files not subject to discovery for general search). To
        28


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              Case 1:07-cv-00316-OWW-GSA Document 146 Filed 02/20/09 Page 3 of 3

         1   determine whether the information sought is privileged, courts must “weigh the potential

         2   benefits of disclosure against the potential disadvantages.” Id. At 1033-1034.
         3
                    After conducting an in camera review, the court finds that the above-mentioned
         4
             document is sensitive in nature and privileged under California Constitution, and should
         5
             be filed under seal.
         6
         7          IT IS SO ORDERED.

         8   DATED: February 19, 2009

         9                                                  /s/ OLIVER W. WANGER
                                                            UNITED STATES JUDGE
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